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           EXHIBITC
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From: Kelly Allison-Pickering
Sent: Thursday, July 23, 2020 4:27 PM
To: Stephanie Vaaler <svaaler@gs-legal.com>
Subject: Fwd: Your confidential information and credit monitoring



--- Forwarded message ---------
From: Colorado Department of Labor and Employment <cdle ui@state.co.us>
Date: Mon, May 18, 2020, 12:39 PM
Subject: Your confidential information and credit monitoring
To:


 Pandemic Unemployment Assistance

                                                 COLORADO
                                                 Department of
                                                 Labor and Employment
                     Pandemic Unemployment Assistance

 On Saturday, May 16th, we were notified by our vendor of a limited and intermittent data
 access issue where a handful of individuals within the new Pandemic Unemployment Assistance
 application were inadvertently able to view other claimants' correspondence. The unauthorized
 access was identified and blocked within one hour. Although there is no evidence of any
 widespread data compromise, out of an abundance of caution we are offering you the option of
 enrolling in 12 months of free credit monitoring.

 If you would like to enroll, please complete your request at the link below within 45 days (July
 2, 2020). Once you submit your request, you will be emailed further instructions within 5
 business days. Please know that we hold the confidentiality of your data in the highest regard
 and our vendor took immediate steps to prevent any unauthorized access in the future



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                         Please do not respond to this automated email. Thank you.
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                Colorado Department of Labor and Employment


                         633 17th St, Denver, 80202


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